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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Magdy Kamal Salem,                               No. CV-20-02140-PHX-DWL
10                 Plaintiff,                         ORDER
11   v.
12   Marriott International Incorporated, et al.,
13                 Defendants.
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15           The Court issued an order on November 20, 2020, stating: “If Plaintiff does not
16   either obtain a waiver of service of the summons or complete service of the summons and

17   complaint on Defendant within 90 days of the filing of the complaint, the action may be
18   dismissed. Fed. R. Civ. P. 4(m).” (Doc. 6 at 3.) To date, no Defendant has been served,

19   and Plaintiff has not requested an extension of time to complete service.

20           Accordingly,
21           IT IS ORDERED dismissing the above-captioned action as to all Defendants
22   without prejudice. The Clerk of Court is directed to terminate the action.

23           Dated this 16th day of April, 2021.

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